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                                      UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF PUERTO RICO
      -------------------------------------------------------------x
      In re:                                                               PROMESA
                                                                           Title III
      THE FINANCIAL OVERSIGHT AND
      MANAGEMENT BOARD FOR PUERTO RICO,
                                                                           No. 17 BK 3283-LTS
                as representative of
                                                                           (Jointly Administered)
      THE COMMONWEALTH OF PUERTO RICO, et al.

                                        Debtors.1
      -------------------------------------------------------------x


                                          CERTIFICATE OF SERVICE

         I, Moheen Ahmad, depose and say that I am employed by Prime Clerk LLC (“Prime
  Clerk”), the solicitation, notice, and claims agent for the Debtors in the above-captioned cases
  under Title III of the Puerto Rico Oversight, Management, and Economic Stability Act
  (PROMESA).

         On February 24, 2022, at my direction and under my supervision, employees of Prime
  Clerk caused the following document to be served (1) by the method set forth on the Master
  Service List attached hereto as Exhibit A, and (2) as set forth on the ADR Notice Party
  Service List attached hereto as Exhibit B:

         •     Tenth Alternative Dispute Resolution Status Notice [Docket No. 20205]




  1
   The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four (4)
  digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto Rico
  (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax
  Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal Tax ID:
  8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17 BK 3567-LTS)
  (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of the
  Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax
  ID: 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last
  Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case
  No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as Bankruptcy
  Case numbers due to software limitations).
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  Dated: March 1, 2022
                                                                       /s/ Moheen Ahmad
                                                                       Moheen Ahmad
  State of New York
  County of New York

  Subscribed and sworn (or affirmed) to me on March 1, 2022, by Moheen Ahmad, proved to me
  on the bases of satisfactory evidence to be the person who executed this affidavit.

  /s/ PAUL PULLO
  Notary Public, State of New York
  No. 01PU6231078
  Qualified in Nassau County
  Commission Expires November 15, 2022




                                           2                                      SRF 59949
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                                    Exhibit A
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                                                                                                                       Exhibit A
                                                                                                                   Master Service List
                                                                                                                Served as set forth below

                             DESCRIPTION                                                NAME                                              ADDRESS                                                 EMAIL              METHOD OF SERVICE
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and Voya Institutional Trust Company, Voya Institutional Trust                                                   Rodriguez, & Luis A. Oliver Fraticelli                       loliver@amgprlaw.com
Company, Plaintiff in Adversary Proceeding 17-00216, Abengoa S.A. Adsuar Muniz Goyco Seda & Perez-Ochoa,         PO Box 70294                                                 kstipec@amgprlaw.com
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behalf of the Senate of Puerto Rico, Plaintiff in Adversary                                                      Aliff-Ortiz, Eliezer Aldarondo-Ortiz, David R. Rodríguez-Burns icastro@alblegal.net
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Y Credito Vega Alta, Cooperativa De Ahorro Y Credito El Valenciano,
Fidecoop, Cooperativa De Ahorro Y Credito De Rincon, Cooperativa                                                 Attn: Enrique M. Almeida Bernal and Zelma Dávila
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                                                                                                                   Master Service List
                                                                                                                Served as set forth below

                             DESCRIPTION                                                 NAME                                              ADDRESS                                               EMAIL              METHOD OF SERVICE
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         Case No. 17-03283 (LTS)                                                                                      Page 2 of 39
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                                                                                                                Served as set forth below

                             DESCRIPTION                                                NAME                                                ADDRESS                                             EMAIL               METHOD OF SERVICE
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for Puerto Rico, acting through its Special Claims Committee         Brown Rudnick LLP                           Boston MA 02111                                             taxelrod@brownrudnick.com            Email
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                                                                                                                 Esq.
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Fondo del Seguro del Estado Corp., Union de Medicos de la
Corporacion del Fondo del Seguro del Estado Corp., Prosol-Utier and
Federación de Maestros de Puerto Rico and Sistema de Retiro de los
Empleados de la Autoridad de Energa Elctrica (SREAEE), Asociación
de Profesores y Profesoras del Recinto Universitario de Mayagüez,
Inc. ("APRUM"), Plaintiff in Adversary Proceeding 17-00197,                                                      Attn: Jessica E. Méndez Colberg
Hermandad de Empleados del Fondo del Seguro del Estado, Inc , et                                                 472 Tito Castro Ave
al. Plaintiff in Adversary Proceeding 18-00091, and Unión de                                                     Edificio Marvesa, Suite 106
Trabajadores de la Industria Eléctrica y Riego Inc ("UTIER")        Bufete Emmanuelli, C.S.P.                    Ponce PR 00716                                                                                   First Class Mail




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                                                                                                        Master Service List
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                             DESCRIPTION                                               NAME                                      ADDRESS                                          EMAIL                  METHOD OF SERVICE

Counsel to Sistema de Retiro de los Empleados de la Autoridad de
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Fondo del Seguro del Estado Corp., Union de Medicos de la
Corporacion del Fondo del Seguro del Estado Corp., Prosol-Utier and
Federación de Maestros de Puerto Rico and Sistema de Retiro de los
Empleados de la Autoridad de Energa Elctrica (SREAEE), Asociación
de Profesores y Profesoras del Recinto Universitario de Mayagüez,
Inc. ("APRUM"), Plaintiff in Adversary Proceeding 17-00197,
Hermandad de Empleados del Fondo del Seguro del Estado, Inc , et                                      Attn: Jessica E. Méndez Colberg
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Mayagüez, Inc. and Hermandad de Empleados del Fondo del Seguro                                        2803 Calle San Francisco
del Estado, Inc, et al. Plaintiff in Adversary Proceeding 18-00091   Bufete Emmanuelli, C.S.P.        Ponce PR 00717                                                                                   First Class Mail

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Fondo del Seguro del Estado Corp., Union de Medicos de la
Corporacion del Fondo del Seguro del Estado Corp., Prosol-Utier and
Federación de Maestros de Puerto Rico and Sistema de Retiro de los
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Fondo del Seguro del Estado Corp., Union de Medicos de la
Corporacion del Fondo del Seguro del Estado Corp., Prosol-Utier and
Federación de Maestros de Puerto Rico and Sistema de Retiro de los
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de Profesores y Profesoras del Recinto Universitario de Mayagüez,                                     Attn: Rolando Emmanuelli Jiménez, Wilbert López Moreno,
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al. Plaintiff in Adversary Proceeding 18-00091, and Unión de                                          Edificio Marvesa, Suite 106                               wilbert_lopez@yahoo.com
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                                                                                                      Capital Center Sur, Suite 202
Counsel to Med Centro, Inc. formerly Consejo Salud de la                                              Avenida Arterial Hostos #239
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                                                                                                            Served as set forth below

                            DESCRIPTION                                                NAME                                             ADDRESS                                             EMAIL              METHOD OF SERVICE
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Avanzada, HPM Foundation, Inc., Concilio De Salud Integral De Loiza,
Inc., & Neomed Center, Inc., Attorneys for Migrant Health Center,                                            Attn: María Celeste Rodríguez Miranda
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                                                                                                             Suite 1400                                                    chris.maddux@butlersnow.com
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                                                                                                             2911 Turtle Creek Blvd.                                       Chris.Maddux@butlersnow.com
                                                                                                             Suite 1400                                                    Mitch.Carrington@butlersnow.com
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Counsel to Financial Guaranty Insurance Company                        Butler Snow, LLP                      New York NY 10019                                             stan.ladner@butlersnow.com        Email
                                                                                                             Attn: Carmen D. Conde Torres, Esq. & Luisa S. Valle Castro,
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PSC, Huellas Therapy, Corp. and Procesos de Informatica, Inc.,                                               San Jose Street #254                                          condecarmen@condelaw.com
Bacardi International Limited, Bacardi Corporation, Institucion                                              Suite 5                                                       ls.valle@condelaw.com
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                                                                                                             and Jaclyn A. Hall                                            bill.natbony@cwt.com
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Corp.                                                            Cadwalader, Wickersham & Taft, LLP          New York NY 10281                                             Jared.Stanisci@cwt.com            Email
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Partners, L.P., Davidson Kempner International, Ltd., Davidson
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Ltd. (f/k/a OZ Enhanced Mater Fund, Ltd.), Sculptor GC
Opportunities Master Fund, Ltd. (f/k/a OZ GC Opportunities Master
Fund, Ltd.), Sculptor Capital LP (f/k/a OZ Management LP), Sculptor
Master Fund, Ltd. (f/k/a OZ Master Fund, Ltd.), and Sculptor SC II, LP
(f/k/a OZSC II L.P.),Canyon Balanced Master Fund, Ltd., Canyon Blue
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Joseph Negrón Vázquez, and the Succession of Armando Negrón
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Berrios by herself and respresentation of her Son Janzel Daniel
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                                                                                                                     Master Service List
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                              DESCRIPTION                                                 NAME                                               ADDRESS                                             EMAIL                  METHOD OF SERVICE
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Inc. Puerto Rico Fixed Income Fund II, Inc. Puerto Rico Fixed Income
Fund III, Inc. Puerto Rico Fixed Income Fund IV, Inc. Puerto Rico
Fixed Income Fund V, Inc. Puerto Rico GNMA & US Government
Target Maturity Fund, Inc. Puerto Rico Mortgage-Backed & US
Government Securities Fund, Inc. Tax-Free Puerto Rico Target
Maturity Fund, Inc. Tax-Free Puerto Rico Fund, Inc. Tax-Free Puerto
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                                                                                                                        Master Service List
                                                                                                                     Served as set forth below

                              DESCRIPTION                                                 NAME                                                  ADDRESS                                               EMAIL               METHOD OF SERVICE
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                                                                                                               Served as set forth below

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                                                                                                                      Master Service List
                                                                                                                   Served as set forth below

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                                                                                                                                                                         Exhibit B
                                                                                                                                                                ADR Notice Party Service List
                                                                                                                                                                 Served as set forth below




                                                                                                                                                                                                                                                      Postal
MMLID                                     NAME                                                    ADDRESS 1                                  ADDRESS 2                            ADDRESS 3                 ADDRESS 4           City        State     Code       Country                 EMAIL                     Method of Service
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1491116 Acevedo Gonzalez, Carlos Luis                                     HC-57 Box 8959                                                                                                                                Aguada         PR           00602                  comaricopr43@gmail.com              First Class Mail and Email
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1893210 CASASNOVAS CUEVAS, LUZ N                                          URB VILLA CRISTINA CALLE 3/B-12                                                                                                               COAMO          PR           00769                                                      First Class Mail
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                                                                                                                                                   ADR Notice Party Service List
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